                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                 )
                                           )
        Plaintiff,                         )
                                           )
 v.                                        )    NO. 3:16-cr-00147-1
                                           )    JUDGE CRENSHAW
 BRIAN RANDALL,                            )
                                           )
        Defendant.                         )

                                        ORDER

      The sentencing hearing set for February 27, 2017 at 11:00 a.m. is RESCHEDULED for

February 27, 2017, at 3:30 p.m.

      IT IS SO ORDERED.

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                                        WAVERLY D. CRENSHAW, JR.
                                        UNITED STATES DISTRICT JUDGE




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